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 4

 5   Attorney for Defendant
     ELIAS ALVAREZ RAMIREZ
 6

 7                                 UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                  )
     UNITED STATES OF AMERICA,                      ) CASE NO. 2:09-cr-00244-MCE
11              Plaintiff,                          )
12
          vs.                                       )
                                                    ) STIPULATION AND ORDER TO
13   ELIAS ALVAREZ RAMIREZ                          ) CONTINUE SENTENCING DATE
                Defendant.                          )
14
                                                    )
15                                                  )
                                                    )
16

17
             IT IS HEREBY STIPULATED by and between Assistant United States Todd Leras,
18
     Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant Elias Alvarez
19

20   Ramirez, that the sentencing date scheduled for December 1, 2011, at 9:00 a.m. be vacated and

21   the sentencing date be continued to this court’s calendar on February 16, 2012 at 9:00 a.m. Mr.
22
     Martinez will be in court in Santa Clara county for a confirmed 3-4 week murder trial.
23
             The court is advised that counsel have conferred about this request that they have agreed
24
     to the court date of February 16, 2012 and that Mr. Leras has authorized Preciliano Martinez to
25

26   sign this stipulation on their behalf.

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 1                         The parties agree and stipulate that time should be excluded under the Speedy Trial Act
 2
     pursuant to Local Code T4 for sentencing, up to and including February 16, 2011.
 3
                                                                             Respectfully Submitted,
 4

 5
     Dated: November 22, 2011                                                /s/ Preciliano Martinez
 6                                                                           Preciliano Martinez
                                                                             Attorney for Defendant
 7
                                                                             ELIAS ALVAREZ RAMIREZ
 8
     Dated: November 22, 2011                                                /s/ Todd Leras
 9                                                                           Assistant U.S. Attorney
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14
                                                              ORDER
15
                           Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
16

17   that the current December 1, 2011 sentencing date is hereby vacated and reset to February 16,

18   2012.
19
     Dated: November 30, 2011
20
                                                           __________________________________
21                                                         MORRISON C. ENGLAND, JR
22   DEAC_Signature-END:
                                                           UNITED STATES DISTRICT JUDGE

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